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                    Exhibit 1
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Letter Report


To:     Michael Barnes
From: Wendy Owens - Pro V&V, Inc.
CC:     Jack Cobb - Pro V&V, Inc.
Date:    October 02, 2020
Subject: Dominion Voting Systems ICX Version 5.5.10.32



Dear Mr. Barnes:

Pro V&V is providing this letter to report the results of the evaluation effort on the ICX version 5.5.10.32.
An examination was performed to confirm that this version of the ICX software corrected the issue with
displaying of two column contests found in ICX version 5.5.10.30.

Background

Pro V&V was contacted by Georgia Secretary of State Office and Dominion Voting System to analyze
an issue that was discovered in Georgia’s Election Logic and Accuracy Testing (L&A testing) for the
2020 General Election. It was discovered during L&A testing that a display error, under certain
conditions, would occur where the second column of candidates would not be displayed properly.
Dominion Voting Systems researched the issue and found that a static container identifier was causing a
collision with an Android automated process for assigning container identifiers. This collision caused the
display for the second column candidates not to be rendered on the screen properly and occurred so
infrequently that it appeared intermittent.

Test Summary

Dominion Voting Systems submitted source code for ICX version 5.5.10.32 to Pro V&V. Pro V&V then
conducted a comparative source code review comparing ICX version 5.5.10.32 to the VSTL-provided
previous ICX version 5.5.10.30. The source code review found two source code changes in a total of five
files. One change was a variable declaration change the variable type to a string from an integer and
changing the assignment from a static number to assigning another variable. The other update was to
change a function call passing a “wrapper tag” instead of a “wrapper ID”. All other source code remained
constant. After conducting the source code review, a Trusted Build process was conducted. The Product
from this build is the ICX.iso file. The SHA-256 hash for this file is as follows:

         ICX.iso -



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Pro V&V conducted functional regression testing using version 5.5.10.30 and 5.5.10.32. An ICX
machine was loaded with 5.5.10.30 and an election containing two 2 column contests. Pro V&V toggled
between “Normal” and “Big” font sizes. Approximately on the 10th toggle the column disappeared as
presented in Photograph 1.and 2 below:




                        Photograph 1: Max Candidate Election Contest One




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              Photograph 2: Second column was not rendered.



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After reproducing the issue. The same device was load with the ICX version 5.5.10.32 and the same
election. Pro V&V toggled 50 times then rebooted, 100 times then rebooted and finally 250 times. Pro
V&V never observed the issue.

Pro V&V requested Douglas County Georgia’s 2020 General Election database that had produced the
issue, but could not reproduce the issue for the ICX software version 5.5.10.30. Even though Pro V&V
could not reproduce the issue, Pro V&V ran the same test as the test election toggling 50 times then
rebooted, 100 times then rebooted and finally 250 times. Pro V&V never observed the issue.

Conclusion

Based on the review of the source code and nature of the change, Pro V&V recommends the change be
deemed as de minimis. Based on the testing performed and the results obtained, it was verified through
source code review and functional testing that the issue found in ICX version 5.5.10.30 can not be
reproduced in ICX version 5.5.10.32.

Should you require additional information or would like to discuss this matter further, please contact me
at 256-713-1111.

Sincerely,




Wendy Owens
VSTL Program Manager
wendy.owens@provandv.com




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